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                      UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                          JUN 26 2023
                                                                       MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
WALEED KHALID ABU AL-WALEED                      No.    19-17074
AL HOOD AL-QARQANI; et al.,
                                                 D.C. No. 4:18-cv-03297-JSW
                  Petitioners-Appellants,        Northern District of California,
                                                 Oakland
 v.
                                                 ORDER
CHEVRON CORPORATION; CHEVRON
USA INC.,

                  Respondents-Appellees.

Before: S.R. THOMAS, KELLY,* and MILLER, Circuit Judges.

      We referred this matter to Judge Tashima as a Special Master after

appellants, represented by Edward Chung, submitted to the court an article

purportedly from a newspaper called The Saudi Sun. (Dkt. No. 66). Finding the

article to be suspicious and apparently “fabricated for purposes of this litigation,”

we ordered Chung to show cause why sanctions should not be imposed. (Dkt. No.

74). After receiving Chung’s response (Dkt. No. 79), we referred the matter to the

Special Master and authorized him “to conduct any proceedings he deems

appropriate to determine the legitimacy of the article” and to “prepare a written

report and recommendation to this panel regarding what, if any, sanctions should


      *
            The Honorable Paul J. Kelly, Jr., United States Circuit Judge for the
U.S. Court of Appeals for the Tenth Circuit, sitting by designation.
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be imposed on Mr. Chung.” (Dkt. No. 80).

      After holding a hearing at which Chung refused to appear, the Special

Master found that the article “was fabricated by Chung and that he filed it with the

intent to mislead the court,” and that in doing so he “perpetrated a fraud upon the

court.” (Dkt. No. 124). The Special Master recommended that “Chung be

sanctioned by being required to reimburse Appellees for the attorneys’ fees and

costs (or such portion thereof as the panel deems just and proper) incurred by

Appellees in addressing Chung’s filing of the Saudi Sun exhibit in Docket No. 66

and its aftermath,” and that “the panel refer this matter to the Washington State Bar

for possible disciplinary proceedings.” (Dkt. No. 124).

      Chung filed objections to the report (Dkt. No. 125); Appellees Chevron

Corporation and Chevron USA Inc. (collectively, “Chevron”) filed a reply (Dkt.

No. 129). Chung makes various arguments that (1) this court lacks jurisdiction to

impose sanctions, (2) the Special Master violated certain procedural and due

process requirements, (3) the Special Master applied incorrect substantive law, and

(4) the sanctions proceedings resulted from judicial bias and misconduct. Having

carefully considered those arguments, we find them meritless. We therefore adopt

the report and recommendation of the Special Master.

      We order Chung to reimburse Chevron for the relevant attorneys’ fees and

costs per the Special Master’s recommendation. Chevron has submitted a


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declaration that this amount is $251,313.72. (Dkt. No. 126). The determination of

what portion of that amount Chung should be ordered to pay is transferred to the

district court. See 9th Cir. R. 39-1.8.

      The Clerk of Court is directed to transmit a copy of this order and of the

Special Master’s report and recommendation to the Washington State Bar

Association for possible disciplinary proceedings for violations of the Washington

Rules of Professional Conduct.

      Chevron’s motion to take judicial notice of the transcript of the August 26,

2022 sanctions hearing (Dkt. No. 127) is granted.

      IT IS SO ORDERED.




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